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IN THE UNITED STATES DISTRICT COURT FOR THE |
FILED

FEB 18 2021

CARMELITA REEDER SHINN, CLERK

WESTERN DISTRICT OF OKLAHOMA

 

 

UNITED STATES OF AMERICA, ap Tet. i??? nie Oe
Plaintiff, )
)
-Vs- )
)

DARNELL MAURICE GILBERT, ) Violations: 18 U.S.C. § 922(g)(1)
a/k/a Darnelle Gilbert, ) 21 U.S.C. § 841(a)(1)
a/k/a Darnelle M. Gilbert, ) 18 U.S.C. § 924(c)(1)(A)
a/k/a Darell Maurice Gilbert, ) 18 U.S.C. § 924(d)

a/k/a Darnell M. Gilbert, ) 21 U.S.C. § 853
) 28 U.S.C. § 2461(c)
Defendant. )
INDICTMENT

The Federal Grand Jury charges:

COUNT 1
(Felon in Possession of Firearms)

On or about October 13, 2020, in Pottawatomie County, Oklahoma, in the Western
District of Oklahoma,

DARNELL MAURICE GILBERT,
a/k/a Darnelle Gilbert,
a/k/a Darnelle M. Gilbert,
a/k/a Darell Maurice Gilbert,
a/k/a Darnell M. Gilbert, ---- —

 

 

with knowledge that he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, did knowingly possess firearms, to wit:

1. a Sota Arms, model PA15, multi-caliber semiautomatic pistol, bearing
serial number PA1 1335;
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2. a Nova Modul (Century Arms), model NAK 9, 9x19mm caliber
semiautomatic pistol, bearing serial number RON2043862; and

3. aRuger, model P89, 9x19mm caliber semiautomatic pistol, bearing serial
number 315-97281,

which were in and affecting interstate commerce in that said firearms had previously
crossed states lines or traveled in foreign commerce to reach the state of Oklahoma.

All in violation of Title 18, United States Code, Section 922(g)(1), the penalty for
which is found at Title 18, United States Code, Section 924(a)(2).

COUNT 2
(Possession of Marijuana with Intent to Distribute)

On or about October 13, 2020, in Pottawatomie County, Oklahoma, in the Western
District of Oklahoma,

DARNELL MAURICE GILBERT,
a/k/a Darnelle Gilbert,
a/k/a Darnelle M. Gilbert,
a/k/a Darell Maurice Gilbert,
a/k/a Darnell M. Gilbert,

 

 

knowingly and intentionally possessed with intent to distribute a quantity of marijuana, a
Schedule I controlled substance.
All in violation of Title 21, United States Code, Section 841(a)(1), the penalty for

which is found at Title 21, United States Code, Section 841(b)(1)(D).
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COUNT 3
(Possession of Firearms in Furtherance of a Drug-Trafficking Crime)

On or about October 13, 2020, in Pottawatomie County, Oklahoma, in the Western

District of Oklahoma,

 

DARNELL MAURICE GILBERT,
a/k/a Darnelle Gilbert,
a/k/a Darnelle M. Gilbert,
a/k/a Darell Maurice Gilbert,
a/k/a Darnell M. Gilbert,

 

knowingly and intentionally possessed firearms, to wit:

1. a Sota Arms, model PA15, multi-caliber semiautomatic pistol, bearing
serial number PA11335;

2. a Nova Modul (Century Arms), model NAK 9, 9x19mm caliber
semiautomatic pistol, bearing serial number RON2043862; and

3. aRuger, model P89, 9x19mm caliber semiautomatic pistol, bearing serial
number 315-97281,

in furtherance of a drug-trafficking crime for which he may be prosecuted in a court of the
United States, that is, possession with the intent to distribute a quantity of marijuana, a
Schedule I controlled substance, a violation of Title 21, United States Code, Section
841(a)(1), as described in Count 2 of this Indictment.

All in violation of Title 18, United States Code, Section 924(c)(1)(A), the penalty
for which is found at Title 18, United States Code, Sections 924(c)(1)(A)(i) and (D)G@)

& (ii).
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FORFEITURE

The allegations contained in Counts 1-3 of this Indictment are hereby re-alleged and

incorporated by reference for the purpose of alleging forfeiture.

Upon conviction of any of the offenses set forth in Counts 1-3 of this Indictment,

DARNELL MAURICE GILBERT shall forfeit to the United States any and all firearms,

ammunition, magazines, and firearms parts involved in the commission of the offenses.

Upon conviction of the offense set forth in Count 2 of this Indictment, DARNELL

MAURICE GILBERT shall forfeit to the United States any property constituting, or

derived from, any proceeds obtained, directly or indirectly, and any property used, or

intended to be used, in any manner or part, to commit or to facilitate the commission of

such offense.

The property subject to forfeiture includes, but is not limited to:

l.

a Sota Arms, model PAL5, multi-caliber semiautomatic pistol, bearing
serial number PA11335;

a Nova Modul (Century Arms), model NAK 9, 9x19mm caliber
semiautomatic pistol, bearing serial number RON2043862;

a Ruger, model P89, 9x19mm caliber semiautomatic pistol, bearing
serial number 315-97281; and

any and all ammunition and magazines not specified herein.
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All pursuant to Title 18, United States Code, Section 924(d), Title 21, United States
Code, Section 853, and Title 28, United States Code, Section 2461(c).

A TRUE BILL:

sone ell HE GRAND JURY

TIMOTHY J. DOWNING
United States Attorney

Crna 0. Prose

CHELSIE A. PRATT
Assistant United States Attorney
